IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF SOUTH CAROLINA

CHARLESTON DIVISION
UNITED STATES OF AMERICA, CRIMINAL NO.: 9:10-552
-versus-
SENTENCING MEMORANDUM
DWAYNE MAJOR,

Defendant.

Neewnel Nemeue Nae! Sema! Nee? Nee! Nene Nee Ne Nene

 

COMES NOW, the Defendant, Dwayne Major (hereinafter Mr. Major),
respectfully submitting this Sentencing Memorandum for this Honorable Court’s
review and consideration.

Procedural History

On September 20, 2008, the Beaufort County Sheriffs Office (hereinafter
BCSO) served Mr. Major with five (5) arrest warrants for the following state criminal
charges: Accessory After the Fact of a Felony, Accessory Before the Fact of a Felony,
Burglary First Degree, Criminal Conspiracy, and Possession of a Weapon During a
Violent Crime. Again, on October 17, 2008, the BCSO served Mr. Major with an
additional arrest warrant for the charge of Murder. Thereafter, the Beaufort County
Solicitors Office requested that the United States Attorney’s Office adopt the state
charges and prosecute Mr. Major and his co-defendants in the United State District

Court — Charleston Division.

 
On May 12, 2010, Mr. Major was indicted before this Honorable Court with

the following counts:

One Count of Conspiracy to Possess with Intent to Distribute Marijuana in
violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(D);

One Count of Possession with Intent to Distribute Marijuana in violation of
18 U.S.C. § 2, 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(D);

One Count of Interference with Commerce through Threat or Violence in
violation of 18 U.S.C. §§ 2 and 1951(a);

One Count of Conspiracy to Interfere with Commerce through Threat or
Violence in violation of 18 U.S.C. §§ 1951(a);

One Count of Conspiracy to Use a Firearm During the Commission of a Drug
or Violent Crime in violation of 18 U.S.C. §924(0), and

One Count of Causing Death Through the Use of a Firearm During the
Commission of a Drug or Violent Crime in violation of 18 U.S.C. §§ 924(c) and

()().

Following the above indictment, the Beaufort County Solicitor’s Office dismissed the

state charges.

On February 25, 2011, Mr. Major entered into a Plea Agreement with the

government. On April 6, 2011, Mr. Major entered a guilty plea before this Honorable

Court as to Count 4, Conspiracy to Interfere with Commerce through Threat or

Violence in violation of 18 U.S.C. §§ 1951(a).

A Pre-Sentence Investigation Report (PSR) was prepared following Mr.

Major’s plea. The Original PSR was prepared on May 26, 2011, and a Revised PSR

 

 
was issued on July 25, 2011. Sentencing is set before this Honorable Court on
December 13, 2011.

Mr. Major has remained incarcerated since the Beaufort County Sheriff's
Office served him with the state arrest warrants on September 20, 2008, for a total
of 1179 days (3 years, 2 months, and 23 days) as of the date of his sentencing on
December 13, 2011. Mr. Major requests a variance based on the number of days he
has already served.t

Herein, Mr. Major urges this Honorable Court to fashion an appropriate
sentence under 18 U.S.C. § 3553(a)(1) which varies below the applicable advisory
United States Sentencing Guideline range and that reflects this Court’s careful

consideration of Mr. Major’s history and characteristics.

Statement of the Law
Although the Guidelines are no longer mandatory, but rather advisory, they
nonetheless play a vital role in determining an appropriate sentence for every defendant
in federal court. United States v. Booker, 543 U.S. 220, 125 S.Ct. 738 (2005). The
Guidelines remain an essential starting point in determining a just sentence and in
maintaining sentencing consistency nationwide. Gall v. United States, 522 U.S. 38, 128
S.Ct. 586 (2007); Rita v. United States, 551 U.S. 338, 127 S.Ct. 2456 (2007).

Moreover, the Guidelines are not static. The themes resonated in Rita, Gall and

 

1 Mr. Major was initially incarcerated in the Beaufort County Detention Center from September 20, 2008,
until May 25, 2010 — a total of 612 days (1 year, 8 months, and 5 days) — when he was transferred to the
Charleston County Detention Center to answer to the federal indictments. Mr. Major has remained in the
Charleston County Detention Center since May 25, 2010 for a total of 567 days (1 year, 6 months, and 18
days) as of December 13, 2011.

 

 
Booker remind us that the basic sentencing objectives set forth in 18 USC § 3553(a) must
be fully considered, and that a sentencing judge shall “impose a sentence sufficient but
not greater than necessary to carry out the objectives of 3553(a) including the
guidelines,” The Guidelines have been amended yearly since they were first promulgated
over twenty-five (25) years ago. Changes in the Guidelines are the result of the
Commission’s fulfillment of its duty to monitor federal sentencing law, to consider public
input and to revise the Guidelines accordingly.
Statutory Provision
18 USC § 3553(a) states in pertinent part,

The court shall impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph (2) of this

subsection. The court, in determining the particular sentence to be

imposed, shall consider—

(1) the nature and circumstances of the offense and the history and
characteristics of the defendant;

(2) the need for the sentence imposed—

(A) to reflect the seriousness of the offense, to promote respect for the
law, and to provide just punishment for the offense;

(B) to afford adequate deterrence to criminal conduct;

(C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with needed educational or vocational
training, medical care, or other correctional treatment in the most effective
manner;

(3) the kinds of sentences available...

Mr. Major would humbly suggest to this Court, that based on his history and
characteristics outlined below, a sentence varying well below the suggested
Guideline range which incorporates mandatory treatment and education would

better serve the purposes of 18 U.S.C. § 3553(a).

 
e Family History

Mr. Major was born and raised in Seabrook, South Carolina. He is twenty-two
(22) years old. Mr. Major is unmarried and has no children.

His biological father has been incarcerated in the South Carolina Department of
Corrections since Mr. Major was in the third grade and has never played an active
role in his life. His mother, Myrtis Parker, is a hard-working cashier who will
continue to serve as a healthy support system for Mr. Major.

Mr. Major is very close with his mother. His aunt recalls that Mr. Major always
went out of his way to make Mother's Day special for his mother and grandmother:
“When he didn’t have the money to buy what wanted, he would clean the house,
clean it from front to back and cook a special dinner.” See Exhibit A, Character
Letter from Tedura Hannibal.

Mr. Major has always attended church, and his uncle is a minister. See Exhibit B,
Character Letter from Pastor Michael Young. His younger brother, Desmond
Watson, remembers that Mr. Major always enjoyed going to church functions and
fundraisers. See Exhibit C, Character Letter from Desmond Watson. Similarly, his
sister remembers Mr. Major’s excitement when it came time to distribute food to
struggling community members. See Exhibit D, Character Letter from Tanika
Brown. Mr. Major also sang in the choir for several years and taught younger church

members how to play baseball. See Exhibit E, Character Letter from Latesha

Goodwin.

 
e Employment History
Mr. Major’s family is not wealthy, but all have worked hard. Mr. Major has at
times worked two jobs to help support his family. His cousin recalls, “I remember
when he told me he couldn’t wait to turn 16 so that he could get a job to help out his
mom with financial problems.” See Exhibit F, Character Letter from Tala Watson.
Another cousin, Lazano Watson, remembers that Mr. Major would contribute half of
his salary to the family finances from his first jobs at Pizza Hut and McDonald’s:
I remember when he would get paid he give his mom one paycheck
for the bills and the other he would keep for personal use .... All we
did was talk about how we should come up with a plan to start our
own business so his family wouldn't ever have to worry about
struggling for the rest of their lives.
See Exhibit G, Character Letter from Lazano Watson. See also, Exhibit H, Character
Letter from Clifton Parker, Jr. Likewise, his aunt Tedura Hannibal recalls that Mr.
Major would hitchhike or walk “for hours” to get to work if necessary. See Exhibit A,
Character Letter from Tedura Hannibal.
e Learning Disability
Mr. Major has struggled with a learning disability his entire life and was in
special education classes throughout middle and high school prior to him dropping
out of school. He receives Social Security disability payments for his learning
disability. People in the community recognize him as “mentally challenged”. See
Exhibit I, Character Letter from Jennifer Jenkins-Black.

Mr. Major asserts that the above factors are appropriately considerable by

this Court pursuant to 18 U.S.C. § 3553(a)(1). Mr. Major thus urges this Honorable

 
Court to vary below the recommended Guidelines after careful consideration of
these factors.
Conclusion
WHEREFORE, based on the meritorious reasons outlined above, the
Defendant, Dwayne Major, beseeches this Honorable Court to depart downwardly
from the recommended United States Sentencing Guidelines, and sentence him to a
variance sentence below the advisory United States Sentencing Guidelines

applicable to his case.

Respectfully submitted,

BY:_s/ Abigail B. Walsh
ATTORNEY FOR DEFENDANT

Federal Bar Number: 9528

Williams & Walsh, LLC

125-A Wappoo Creek Dr., Ste. 202
Charleston, SC 29412

Telephone: (843) 722-0157

Fax: (843) 762-2198

Charleston, South Carolina,
December 9, 2011.

 

 
